

People v Parker (2020 NY Slip Op 07749)





People v Parker


2020 NY Slip Op 07749


Decided on December 23, 2020


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on December 23, 2020
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: PERADOTTO, J.P., LINDLEY, CURRAN, BANNISTER, AND DEJOSEPH, JJ.


658.5 KA 16-01835

[*1]THE PEOPLE OF THE STATE OF NEW YORK, RESPONDENT,
vSHARIF D. PARKER, DEFENDANT-APPELLANT. (APPEAL NO. 3.) 






LEANNE LAPP, PUBLIC DEFENDER, CANANDAIGUA (DAVID O. IRVING OF COUNSEL), FOR DEFENDANT-APPELLANT. 


	Appeal from a judgment of the Ontario County Court (Frederick G. Reed, A.J.), rendered May 6, 2016. The judgment convicted defendant upon his plea of guilty of falsifying business records in the first degree. 
It is hereby ORDERED that the judgment so appealed from is unanimously affirmed.
Same memorandum as in People v Parker ([appeal No. 1] — AD3d — [Dec. 23, 2020] [4th Dept 2020]).
Entered: December 23, 2020
Mark W. Bennett
Clerk of the Court








